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Vv
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

Qc aye’ _ Bary
aintiff(s), CaseNo. (\A- cU-\ 8S fF

V Judge w/av\cs Cy, e Umund _p

Soran ed Police AD al trerdpacistrate Judae Dek
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Defendant(s). € Vade Sax
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NOTICE OF APPEAL

Notice is hereby given that Cyr ASVo w"* ° ee appeals to

the United States Court of Appeals for the Sixth Circuit from the: | Judgment Er Order

Cc] Other:

entered in this actionon \\/ }U| Aco

—_/,
Date: December 17, 2020 Signature: g Vecoorn2 ey

Counsel is: Bar No:
Firm Name (if applicable):
Address 1: VO. AD wisr rou Se
Address 2; Dey roy MTD, UPa|
City, State Zip Code: 4
Telephone No:
Primary Email Address:

Appellant: Please file this form with the District Court Clerk's Office. If you are paying the filing fee, please make your
$505.00 check payable to: Clerk, U.S. District Court.
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